Case 1:11-cr-00015-JMS-MJD           Document 323         Filed 10/04/11      Page 1 of 12 PageID #:
                                            1507



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                         )
                                                   )
                Plaintiff,                         )
                                                   )
        vs.                                        )       Cause No. 1:11-cr-15-08-WTL-KPF
                                                   )
 JAMA MIRE,                                        )
                                                   )
                Defendant.                         )
                                                   )

                              ENTRY ON MOTIONS TO SUPPRESS

        This cause is before the Court on Defendant Jama Mire’s Motion to Suppress (dkt. no.

 201), Motion to Suppress Evidence (dkt. no. 202), and Supplemental Motion to Suppress

 Evidence (dkt. no. 256). The motions are all fully briefed, the Court held a hearing at which

 both evidence and argument were presented, and the parties had the opportunity to file

 supplemental briefs after the hearing. The Court, being duly advised, now DENIES the

 Defendant’s motions for the reasons set forth below.

                             I. MOTION TO SUPPRESS (dkt. no. 201)

        Mire was arrested on February 17, 2011, and was interviewed by law enforcement twice

 that day. Mire asserts that the statements he gave during those interviews were obtained in

 violation of Miranda v. Arizona, 384 U.S. 436 (1966) and his Sixth Amendment rights.

 According, he seeks to suppress evidence regarding those statements.

        Under Miranda, “an officer cannot interview a suspect who is in custody until the suspect

 is notified of his constitutional rights to counsel and against self-incrimination.” U.S. v.

 Snodgrass, 635 F.3d 324, 327 (7th Cir. 2011). Mire asserts that the law enforcement officers who

 interviewed him did not inform him of his constitutional rights and therefore he did not waive his
Case 1:11-cr-00015-JMS-MJD           Document 323         Filed 10/04/11      Page 2 of 12 PageID #:
                                            1508



 Miranda rights. In response, the Government has produced a waiver of rights form which it

 asserts was signed by Mire. Mire denies that he was presented with the form or that the

 signature on the form is his.

        In a Miranda challenge, “a heavy burden rests on the government to demonstrate that the

 defendant knowingly and intelligently waived his privilege against self-incrimination and his

 right to retained or appointed counsel.” Miranda v. Arizona, 384 U.S. 436, 475 (1966). “An

 express written or oral statement of waiver of [one’s Miranda rights] is usually strong proof of

 the validity of that waiver,” although it is neither necessary nor sufficient to establish waiver.

 North Carolina v. Butler, 441 U.S. 369, 373 (1979). Rather, the proper inquiry is “whether the

 defendant in fact knowingly and voluntarily waived the rights delineated in [Miranda].” Id.

        FBI Special Agent Jeremy Michaels and Indianapolis Metropolitan Police Department

 Detective David Durant testified at the hearing regarding the instant motion that they

 interviewed Mire shortly after his arrest. Both witnesses testified that prior to questioning Mire,

 Michaels verbally advised Mire of his Miranda rights and presented him with an advice of rights

 form that sets out those rights. Durant testified that Mire indicated that he understood his rights

 and that he did not appear confused. Mire then signed the advice of rights form, indicating that

 he understood his rights and was willing to answer questions without a lawyer present. Michaels

 and Durant then signed the form as witnesses. While the form is dated February 17, 2011, the

 time was not indicated on the form; instead, the notation “not recorded” appears where the time

 should be.

        FBI Special Agent Todd Samargia testified that he conducted a second interview of Mire

 later the same day. Samargia presented Mire with the signed advice of rights form and informed


                                                   2
Case 1:11-cr-00015-JMS-MJD          Document 323         Filed 10/04/11      Page 3 of 12 PageID #:
                                           1509



 him that his rights were still in effect. Mire agreed to speak to Samargia and did not indicate that

 he had not signed the advice of rights form.

        Mire has submitted a Verified Declaration in which he contends that he was never

 advised of his Miranda rights following his arrest and that he did not sign the advice of rights

 form. Mire further avers that the signature on the form does not look like his signature. Mire

 also presented numerous documents at the hearing that contain his signature and, indeed, the

 signature on the advice of rights form–and specifically the way the letter “J” is formed–does

 differ from the signature on those documents. However, Mire’s signature across the various

 documents is not entirely consistent. Further, the difference in the signature on the advice of

 rights form can be explained by the fact that Mire was handcuffed when he signed it.

        The Court finds the hearing testimony of law enforcement officers Michaels, Durant, and

 Samargia to be credible. Therefore, the Court finds that Mire was verbally advised of his

 Miranda rights by Michaels and that Mire signed the advice of rights form prior to being

 questioned by Michaels and Durant. The Court further finds that Samargia reminded Mire of his

 Miranda rights prior to questioning him.

        Furthermore, the Court finds that Mire knowingly, intelligently, and voluntarily waived

 his Miranda rights, and consequently his Sixth Amendment rights, prior to both interview

 sessions. Mire, age 25, graduated from high school and attended one year of college and is

 savvy enough to run his own business, the Somali House of Coffee. Mire reads, writes, and

 understands English, and the Court notes that Mire expressly waived his right to have an

 interpreter at the hearing on the instant motion. Finally, Mire does not assert that the conditions

 under which he was questioned were coercive in any way.


                                                  3
Case 1:11-cr-00015-JMS-MJD          Document 323        Filed 10/04/11      Page 4 of 12 PageID #:
                                           1510



        For these reasons, the Court finds that Mire was properly advised of his Miranda rights,

 including his rights under the Sixth Amendment, and that he duly waived them. Therefore, the

 Defendant’s motion to suppress his statements on the basis of a Miranda violation is DENIED.

      II. MOTION TO SUPPRESS EVIDENCE (dkt. no. 202) AND SUPPLEMENTAL
                 MOTION TO SUPPRESS EVIDENCE (dkt. no. 256)

        In these motions, Mire seeks to suppress all evidence that was obtained during the

 searches of his business and his residence on the grounds that (1) the affidavit on which the

 warrants authorizing the searches were based contains false statements and was prepared with

 reckless disregard for the truth, and the warrants were not otherwise supported by probable

 cause; and (2) the information contained in the search warrant affidavit was stale. Each of these

 arguments is addressed, in turn, below.

                                        A. Relevant Facts

        Cathinone, or “khat,” is a Schedule 1 controlled substance that is grown in Africa. After

 conducting a lengthy investigation into suspected khat trafficking in Indianapolis, FBI Special

 Agent Todd Samargia appeared before Magistrate Judge Kennard Foster on February 15, 2011,

 seeking the issuance of search warrants to search several locations in Indianapolis, including two

 that related to Mire: 5636/5638 West Washington Street, which was Mire’s business, the Somali

 House of Coffee; and 1156 Shady Terrace, Apartment C, which was represented to be Mire’s

 residence.

        The search warrant applications each were supported by the affidavit of Samargia in

 which he averred the following: The FBI had met with a confidential source (“CS”) in April

 2009 who had advised the FBI that he had knowledge of an active khat distribution network in

 the Indianapolis area. The information provided by the CS was “regarded as credible and

                                                 4
Case 1:11-cr-00015-JMS-MJD          Document 323        Filed 10/04/11      Page 5 of 12 PageID #:
                                           1511



 reliable” for the following reasons:

        (a)     CS is considered a well respected member of the relatively small (approximately
                800) Indianapolis Somalian community. The Indianapolis Somalian community
                is narrowly drawn and difficult for individuals of another divergent nationality to
                penetrate. CS approached the FBI in an effort to “clean up” the community and
                keep people safe. CS has been in the Indianapolis area for over 10 years, and
                though he/she did not initially ask to be paid, he has been paid by the FBI for his
                continued cooperation.

        (b)     Other members of the Indianapolis Somalian community and owners of
                businesses within the community appear to have a high level of trust with CS and
                speak openly and freely about their business and various activities around CS.

        (c)     CS has purchased khat from Ahmed and other co-conspirators at the direction of
                law enforcement in a controlled setting.

        (d)     Much of the information provided by CS has been corroborated by your affiant’s
                independent investigation to include records, surveillance, telephone analysis and
                records, wire and electronic intercepts. For example, as set forth below, CS
                advised that Mohamed began trafficking khat in the Indianapolis and surrounding
                area around 2004. Your affiant has confirmed through Choicepoint records
                checks and obtaining Mohamed’s criminal history that Mohamed resided in
                Atlanta, Georgia until he was arrested in 2004, at which time he moved to
                Indianapolis, IN. CS advised that the khat trafficking conspiracy involved the
                receipt of shipments from overseas via FedEx and UPS and that the conspiracy
                included Columbus, OH and surrounding areas. There and several additional
                facts that have been corroborated, as set forth herein.

 Samargia Aff. at ¶ 38 (footnote omitted). With regard to Mire specifically, Samargia averred

 that Mire’s sister was the owner of the Somali House of Coffee, a business that is

        a gathering place for the Somalian community and many of the co-conspirators
        engaged in the Criminal Activity who gather and chew dry khat together. CS
        advised that a hole was cut in the drywall between the Somali House of Coffee
        and 5638 West Washington for ease of access between the two sections of the
        building.

        Law enforcement conducted surveillance at the Somali House of Coffee on
        numerous occasions beginning approximately July 2009 and continuing through
        and including January 2011. Mire and many of the conspirators were regularly
        observed frequenting the business in what appeared to be a social nature.


                                                 5
Case 1:11-cr-00015-JMS-MJD          Document 323        Filed 10/04/11      Page 6 of 12 PageID #:
                                           1512



        CS provided information about Mire and his ongoing khat distribution activity
        dating back to 2009 and continuing to the present. On numerous occasions
        beginning in 2009 and continuing through and including January 2011, CS was
        present at the Somali House of Coffee when Mire and other individuals gathered
        to chew dry khat together. On several occasions during the time frame, CS
        observed Mire sell khat at the business. CS also participated in three controlled
        purchases of khat from Mire at the Somali House of Coffee:

                a.     On August 14, 2009, CS purchased approximately 73.8 grams of
                       khat from Mire for $40.00;
                b.     On August 24, 2009, CS purchased approximately 98 grams of khat from
                       Mire for $40.00;
                c.     On December 22, 2010, CS purchased one bag of what is believed to be
                       dry khat (“garabba”) from Mire for $40.00.

 Samargia Aff. at ¶ 51-53.

        Magistrate Judge Foster issued the search warrants on February 15, 2011. The FBI

 subsequently learned that Mire no longer resided at 1156 Shady Terrace, Apartment C; rather he

 had moved to another apartment within the same complex, 1126 Shady Terrace. Accordingly,

 Samargia returned to Magistrate Judge Foster seeking a search warrant for Mire’s new

 apartment; that warrant was issued on February 17, 2011.

                                           B. Discussion

        A motion to suppress evidence obtained pursuant to a search warrant must be granted

        if the defendant can show by a preponderance of the evidence that: (1) the search
        warrant affiant committed perjury or acted with reckless disregard by including
        false statements in the warrant affidavit, and (2) upon the exclusion of those false
        statements from the search warrant (and inclusion of any omitted material facts)
        the remaining information is insufficient to establish probable cause.

 U.S. v. Taylor, 471 F.3d 832, 838-39 (7th Cir. 2006). Mire alleges that the search warrant

 affidavit contained the following false statements:

        On numerous occasions beginning in 2009 and continuing through and including
        January 2011, CS was present at the Somali House of Coffee when Mire and
        other individuals gathered to chew dry khat together. On several occasions during

                                                 6
Case 1:11-cr-00015-JMS-MJD            Document 323         Filed 10/04/11       Page 7 of 12 PageID #:
                                             1513



        the time frame, CS observed Mire sell khat at the business. CS also participated in
        three controlled purchases of khat from Mire at the Somali House of Coffee.

 Mire asserts that Samargia failed to adequately inquire into the reliability of the CS, and

 therefore acted with reckless disregard of the truth of the statements he made in his affidavit that

 relied upon the CS’s veracity.

        Mire’s argument in large part depends upon his assertion that, contrary to the affidavit’s

 statement that the CS is considered “a well respected member” of the Indianapolis Somali

 community, in fact the CS has a reputation for exaggeration and self-aggrandizement and

 generally is not taken seriously by others. In addition, the CS has been involved in several

 violent altercations with other members of the Somali community. Mire’s assertions are

 supported by Abdiwahab Rashid, a member of the Indianapolis Somali community who testified

 at the hearing, as well as the affidavit of Salim Said, who did not testify.

        The evidence submitted by Mire certainly indicates that the CS is not a universally

 revered member of his community. That does not, however, render the search warrant affidavit

 false. Rather, “[t]he Supreme Court has observed that, for a warrant affidavit to be ‘truthful,’ it

 is not necessary that every fact in the affidavit be correct; instead, the affidavit must be ‘truthful

 in the sense that the information put forth is believed or appropriately accepted by the affiant as

 true.’” U.S. v. Norris, 640 F.3d 295, 301 (7th Cir. 2011) (quoting Franks v. Delaware, 438 U.S.

 154, 165 (1978)). Thus, “[t]he relevant inquiry focuses on the officer’s belief about the facts

 recounted, not the validity of the underlying facts themselves.” Id. Samargia testified at the

 hearing that he believed the CS to be a reliable source and that he believed the statement in the

 affidavit that the CS was considered a well-respected member of the Indianapolis Somali

 community to be true, and the Court finds this testimony to be credible. Samargia testified that

                                                    7
Case 1:11-cr-00015-JMS-MJD          Document 323         Filed 10/04/11      Page 8 of 12 PageID #:
                                           1514



 the FBI was approached by the CS with information about khat trafficking and that the CS stated

 that he was motivated by his desire to “clean up” the Somali community. The CS gave Samargia

 a business card from a refugee service, and Samargia confirmed with the service that the CS did,

 in fact, volunteer there, helping Somali immigrants with things like obtaining drivers licenses

 and applying for employment. Samargia also ran routine criminal history checks and confirmed

 that the CS had no prior convictions. While Mire complains that Samargia checked only for

 convictions and failed to check for arrests or “incidents” involving the CS, this failure does not

 constitute reckless disregard of the truth regarding the CS’s standing in the community.

        Mire also argues that the statement in the search warrant affidavit that the CS conducted

 a controlled purchase of khat from Mire on August 24, 2009, is false because even taking the

 CS’s version of events as true, the khat purchase was made from Hussein Ahmed, not Mire.

 Samargia testified that the CS went to the Somali House of Coffee on August 24, 2009, and

 spoke with Mire and another person about buying some khat. They indicated that they had sold

 all of their khat but that Hussein Ahmed was bringing them some more and the CS could

 purchase some of that shipment when it arrived. When Ahmed arrived, the CS purchased some

 khat from him. While given these facts it would have been more accurate to describe this as a

 purchase arranged or facilitated by Mire rather than made from him, this is a matter of semantics

 and a fuller explanation of the facts surrounding the purchase (as alleged by the CS) could not

 have had any material effect on Magistrate Judge Foster’s probable cause determination. See

 Norris, 640 F.3d at 302 (“A defendant may establish a constitutional violation under Franks by

 showing an intentional or reckless omission of evidence; however, the facts withheld also must

 be ‘material’ to the probable cause determination.”).


                                                  8
Case 1:11-cr-00015-JMS-MJD          Document 323         Filed 10/04/11      Page 9 of 12 PageID #:
                                           1515



        For the reasons set forth above, the Court finds that Samargia did not recklessly disregard

 the truth of the statements contained in his affidavit. Even if he had, however, Mire’s motion to

 suppress would have to be denied because even if the statements he asserts are false are

 excluded, the remaining information contained in the search warrant affidavit is sufficient to

 establish probable cause. With regard to the controlled buy statement, the more accurate

 description still would have constituted corroboration of the CS’s claim that Mire was involved

 in khat trafficking; further, the affidavit sets forth two other controlled buys from Mire.1 With

 regard to the CS’s standing in the community, that was not the only indicia of the reliability of

 the information provided by the CS to law enforcement. Rather, prior to applying for the search

 warrants at issue, law enforcement–using “surveillance, telephone analysis and records, and wire

 and electronic intercepts” described at length in the search warrant affidavit–had corroborated a

 great deal of information provided by the CS regarding khat trafficking activity. While much of

 the corroboration involved individuals other than Mire, the fact that the CS had provided

 accurate information about others made it reasonable for law enforcement to rely upon the CS’s

 information about Mire. In addition, at least one wiretapped conversation involved Mire

 discussing the procurement of khat.

        [W]hen an informant supplies the facts in the affidavit, the probable cause
        determination will also turn on the informant’s credibility. Some of the factors to
        consider in making this determination are: (1) the extent to which police
        corroborated the informant’s statements; (2) the degree to which the informant


        1
          Mire presented the testimony of an investigator who interviewed the CS in his home.
 The CS told the investigator that he had never purchased khat and specifically denied purchasing
 khat on the three dates the controlled buys involving Mire allegedly were made. While the Court
 finds the investigator’s testimony to be credible, it is also irrelevant. It is wholly unsurprising
 that a confidential law enforcement informant would be evasive when asked about his informant
 activities by an unknown person.

                                                  9
Case 1:11-cr-00015-JMS-MJD           Document 323 Filed 10/04/11             Page 10 of 12 PageID
                                           #: 1516



        acquired knowledge of the events through first-hand observation; (3) the amount
        of detail provided; and (4) the interval between the date of the events and the
        police officer’s application for the search warrant. We also consider whether the
        informant personally appeared and testified before the issuing judge, thus
        allowing the judge to assess his credibility. No one factor is dispositive, so a
        deficiency in some areas can be compensated by a stronger showing in others.
        Ultimately, the issuing judge must make a practical, commonsense decision
        whether, given all the circumstances set forth in the affidavit before him,
        including the veracity and basis of knowledge of persons supplying hearsay
        information, there is a fair probability that contraband or evidence of a crime will
        be found in a particular place.

 U.S. v. Bell, 585 F.3d 1045, 1049 (7th Cir. 2009) (citations and internal quotation marks omitted).

 In this case, even if the assertion that the CS was a respected member of his community was

 excised from the search warrant affidavit, there was ample corroborative information to support

 the determination that the information supplied by the CS was reliable. Accordingly, even if the

 allegedly false statements had not appeared in the search warrant affidavit, a finding of probable

 cause would have been appropriate.

        Finally, Mire argues that the information contained in the search warrant affidavit

 regarding him was stale because approximately eight weeks passed between the last information

 the CS provided about him–the third controlled buy–and the date of the search warrant

 application. Mire’s argument mischaracterizes the information in the affidavit; in fact, the

 affidavit states that the CS observed Mire and others chewing khat at the Somali House of

 Coffee in January 2011 and that on February 7, 2011, the CS “informed law enforcement that

 Mire continues to store khat at both his home and at his mother’s residence.” Further, given the

 fact that the search warrant affidavit alleged long-term, ongoing khat trafficking, it was not

 unreasonable to believe that evidence of that activity would still be present even after several

 weeks had passed. See U.S. v. Skinner, 972 F.2d 171, 177 (7th Cir. 1992) (fact that the affidavit


                                                 10
Case 1:11-cr-00015-JMS-MJD           Document 323 Filed 10/04/11              Page 11 of 12 PageID
                                           #: 1517



 recited [facts] “indicating ongoing, continuous activity” made the passage of time “less critical”).

        Similarly unavailing is Mire’s argument in his supplemental motion to suppress that the

 information in the search warrant affidavit regarding his new apartment “was stale because the

 probable cause gathered by the Government over the course of a two year investigation was

 specific to Mire’s former residence and there was no reason to believe that any contraband or

 evidence of a crime would be found at Mire’s new residence.” This is not a case in which law

 enforcement wanted to search for contraband that was seen by an informant at a location on a

 particular occasion; rather, the search warrant application in this case sought to search Mire’s

 residence in order to discovery a variety of items that law enforcement would expect to find in

 the residence of someone engaging in on-going drug trafficking. It was entirely reasonable to

 expect that any such items that Mire had at his old apartment would have been moved to his new

 apartment. Accordingly, the information contained in the search warrant affidavit was not stale

 simply because it was acquired before law enforcement was aware that Mire had moved to a new

 apartment.

                                           C. Conclusion

        For the reasons set forth above, the Court determines that the search warrant affidavit

 was not prepared with reckless disregard for the truth. Even if it were and the allegedly false

 statements were disregarded, the affidavit still supported a finding of probable cause to search

 Mire’s home and business. Finally, the information pertaining to Mire in the affidavit was not

 stale. Accordingly, Mire’s motion to suppress is DENIED.

        SO ORDERED: 10/04/2011


                                                                  _______________________________
                                                                  Hon. William T. Lawrence, Judge
                                                 11               United States District Court
                                                                  Southern District of Indiana
Case 1:11-cr-00015-JMS-MJD           Document 323 Filed 10/04/11   Page 12 of 12 PageID
                                           #: 1518




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                                                  12
